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    9
                           IN THE UNITED STATES DISTRICT COURT
   10
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
   11
   12
        B&L PRODUCTIONS, INC., d/b/a                  8:22-cv-01518 JWH (JDEx)
   13   CROSSROADS OF THE WEST, et
        al.,                                        DECLARATION OF MICHELE
   14                                               RICHARDS IN SUPPORT OF
                                        Plaintiffs, STATE DEFENDANTS’ MOTION
   15                                               FOR RECONSIDERATION OF
                     v.                             STAY OF INJUNCTION PENDING
   16                                               APPEAL
   17   GAVIN NEWSOM, et al.,                     Date:             December 15, 2023
                                                  Time:             9:00 a.m.
   18                                 Defendants. Courtroom:        9D
                                                  Judge:            The Honorable John W.
   19                                                               Holcomb
                                                      Action Filed: August 12, 2022
   20
   21        I, Michele Richards, declare as follows:

   22        1.    I am the Chief Executive Officer of the 32nd District Agricultural

   23   Association (the District). My duties include executive oversight of the operations

   24   and staff of the 32nd District Agricultural Association (OC Fair & Event Center). In

   25   addition, I manage the priorities of the District Board of Directors and work with

   26   them to develop strategic direction for the organization. I ensure that policies are in

   27   place to govern the organization and that the District’s finances are well-managed.

   28   I have knowledge of the following facts based on the review of the District’s

                                                  1
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    1   business records or my personal knowledge, and if called as a witness, I could and
    2   would testify competently thereto.
    3       2.    The District is a state institution that is responsible for the OC Fair &
    4   Event Center (the Fairgrounds), which is located in Orange County in the City of
    5   Costa Mesa. The District’s purpose is to hold fairs, expositions, and exhibitions to
    6   showcase various industries and industrial enterprises. It has the authority to enter
    7   into contracts with third-party event organizers to conduct events such as concerts,
    8   festivals, and industry shows at the Fairgrounds.
    9       3.    B&L Productions, Inc. d/b/a Crossroads of the West (B&L Productions)
   10   is a repeat client that holds approximately five large-scale weekend-long events a
   11   year at the Fairgrounds. The events are the same in nature: a gun show, with
   12   numerous vendors that serve food, sell firearm accessories and gear, offer firearms
   13   related training and information, and sell firearms, precursor parts, and ammunition.
   14       4.     On October 30, 2023, Tracy Olcott from B&L Productions contacted our
   15   office via email requesting the following dates in 2024 for B&L Productions to host
   16   gun shows: January 12-14, 2024; March 1-3, 2024; June 1-3, 2024; August 23-25,
   17   2024; and November 29-December 1, 2024. Our office responded by phone on
   18   November 2, 2023, providing the following dates: January 20-22, 2024; March 30-
   19   31, 2024; and November 29-December 1, 2024.
   20       5.    After further correspondence, the District currently expects that B&L
   21   Productions will host gun shows on the following dates: January 20-22, 2024;
   22   March 30-31, 2024; and November 29-December 1, 2024. Currently, a rental
   23   agreement for the January 20-22, 2024 show is being developed, and the rental
   24   agreements for the other event dates are forthcoming.
   25       6.    Even if SB 264 and SB 915 are in effect and the sale of firearms,
   26   ammunition, and precursor parts are prohibited, gun shows may still take place at
   27   the Fairgrounds as long as promoters follow all applicable federal and state laws
   28   and court orders.
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                       11/7/23
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                                    CERTIFICATE OF SERVICE
   Case Name:        B&L Productions, Inc., et al. v.        No.    8:22-cv-01518 JWH (JDEx)
                     Gavin Newsom, et al.

   I hereby certify that on November 13, 2023, I electronically filed the following documents with
   the Clerk of the Court by using the CM/ECF system:
   DECLARATION OF MICHELE RICHARDS IN SUPPORT OF STATE DEFENDANTS'
   MOTION FOR RECONSIDERATION OF STAY OF INJUNCTION PENDING APPEAL
   I certify that all participants in the case are registered CM/ECF users and that service will be
   accomplished by the CM/ECF system.
   I declare under penalty of perjury under the laws of the State of California and the United States
   of America the foregoing is true and correct and that this declaration was executed on November
   13, 2023, at Los Angeles, California.


                   Kevin Carballo
                     Declarant                                          Signature

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